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IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND
TRACEY PERREY

MDL DOCKET NO. 2047

PLAINTIFFS
Judge Eldon E. Fallon

V.

KNAUF GIPS KG;

KNAUF PLASTERBOARD

TIANJIN COMPANY, LTD

SUN CONSTRUCTION, LLC

SUNRISE CONSTRUCTION, LLC

FICTITIOUS DEFENDANTS A-Z
DEFENDANTS

Magistrate Judge Joseph C. Wilkerson, Jr.

Section L

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Case No. 2:09cv5500 L/2
REQUEST FOR ORAL ARGUMENT

NOW INTO COURT, through undersigned counsel, comes Defendant, Sun
Construction, LLC, who, pursuant to Local Rule 78.1E, respectfully request oral argument on
its Motion for Summary Judgment Pursuant to FRCP Rule 56. The Motion is set for hearing
November 18th, at 9:00 a.m. before Honorable Judge Eldon E. Fallon, in the United States
District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans,
Louisiana 70130. Sun Construction, LLC represents that the Motion for Summary Judgment

presents unique issues that need to be _ discussed in open _ court.
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Respectfully submitted,

COUHIG PARTNERS, L.L.C.

CEE

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Request for Oral Argument has been served on

Plaintiffs’ Liaison Counsel, Russ Hermann at Drywall@hhke.com, and Defendants’ Liaison

Counsel, Kerry Miller at Kmiller@frilot.com, and Homebuilder Sterring Committees’ Counsel

Hilarie Bass and Phillip A. Wittmann at pwittman(@stonepigman.com and upon all parties by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order
No. 6, and that the foregoing was electronically filed with the Clerk of Court of the United States
District for the Eastern District of Louisiana by using the CM/ECF System, which will send a

notice of electronic filing in accordance with the procedures established in MDL 2047, on the

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DAVID C. LOEB

10th day of November, 2009.

